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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA
   IN RE:
         JOSEPH DENNIS CATANESE,                         :       Chapter 13
         CATHY LOUISE CATANESE,                          :
                                                         :
                  Debtors                                :       Bankruptcy No. 14-11963

          ABS REO TRUST                                  :
                                                         :
                                                         :
                          Movant                         :
                                                         :
                  v.                                     :
                                                         :
          JOSEPH DENNIS CATANESE,                        :
          CATHY LOUISE CATANESE,                         :
                                                         :
                          Respondents                    :


        DEBTOR’S ANSWER TO THE MOTION OF SELECT PORTFOLIO
    SERVICING, INC FOR RELIEF FROM AUTOMATIC STAY UNDER 11 U.S.C.
        §362(d) PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001


          COMES NOW, the Debtors, Joseph and Cathy Catanese, by and through their

   attorney, Joseph T. Bambrick, Jr., who respectfully files this Answer to the Motion of Select

   Portfolio Servicing, Inc. for Relief From Automatic Stay Under §362 Pursuant to

   Bankruptcy Procedure Rule 4001 and in support thereof says:

          1.      Admitted.

          2.      Admitted. This is a legal conclusion. No answer required.

          3.      Denied. This is a legal conclusion. No answer required.

          4.      Denied. This is a legal conclusion. In addition this is legal argument.

          5.      Admitted.
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             6.       Admitted. This is a legal conclusion.

             7.       Denied. See attached Exhibit A

             8.       Denied. The debtors herein incorporate their answer in 7 above as if set out

   in detail herein.

             9.       Denied. The debtors herein incorporate their answer in 7 & 8 above as if set

   out in detail herein.

   10.       Denied

   11.       Denied. This is legal argument. No answer required.

             WHEREFORE, for all the above reasons, the Debtors, Joseph and Cathy Catanese,

   respectfully prays this Honorable Court to:

                      A.     Deny the Motion of the creditor with prejudice; and

                      B.     Grant such other relief that this Court deems fitting and just.

                                            NEW MATTER

   12.       The Debtors herein incorporate theirs answer in 1-11 as if set out in detail herein.

   13.       The Debtors herein incorporate their answers in 7-10 above as if set out in detail

   herein.

   14.       The Debtors in fact have made all required mortgage payments pursuant to the

   original mortgage agreement, see attached Exhibit A.

             WHEREFORE, for all the above reasons, the Debtors, Joseph and Cathy Catanese,

   respectfully prays this Honorable Court to:

                      A.     Deny the Motion of the creditor with prejudice; and
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                B.    Grant such other relief that this Court deems fitting and just.




                                              Respectfully submitted by,



   Dated: November 5, 2018_                   _/s/Joseph Bambrick__________________
                                              JOSEPH T. BAMBRICK JR, ESQUIRE
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                                              ATTORNEY FOR DEBTOR
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